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                      Exhibit B
12/5/2020               Case 1:20-cv-04809-TCB
                  Joint Statement                                Document
                                  from Elections Infrastructure Government     61-2 Council
                                                                           Coordinating Filed&12/05/20        Page 2 Sector
                                                                                              the Election Infrastructure of 3 Coordinating Executi…
            An o icial website of the United States government            Here's how you know                                 TLP:WHITE
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   JOINT STATEMENT FROM ELECTIONS
   INFRASTRUCTURE GOVERNMENT COORDINATING
   COUNCIL & THE ELECTION INFRASTRUCTURE
   SECTOR COORDINATING EXECUTIVE COMMITTEES
   Original release date: November 12, 2020


   WASHINGTON – The members of Election Infrastructure Government Coordinating Council (GCC)
   Executive Committee – Cybersecurity and Infrastructure Security Agency (CISA) Assistant Director
   Bob Kolasky, U.S. Election Assistance Commission Chair Benjamin Hovland, National Association of
   Secretaries of State (NASS) President Maggie Toulouse Oliver, National Association of State Election
   Directors (NASED) President Lori Augino, and Escambia County (Florida) Supervisor of Elections
   David Sta ord – and the members of the Election Infrastructure Sector Coordinating Council (SCC) –
   Chair Brian Hancock (Unisyn Voting Solutions), Vice Chair Sam Derheimer (Hart InterCivic), Chris
   Wlaschin (Election Systems & So ware), Ericka Haas (Electronic Registration Information Center),
   and Maria Bianchi (Democracy Works) - released the following statement:
   “The November 3rd election was the most secure in American history. Right now, across the country,
   election o icials are reviewing and double checking the entire election process prior to finalizing the
   result.
   “When states have close elections, many will recount ballots. All of the states with close results in the
   2020 presidential race have paper records of each vote, allowing the ability to go back and count
   each ballot if necessary. This is an added benefit for security and resilience. This process allows for
   the identification and correction of any mistakes or errors. There is no evidence that any voting
   system deleted or lost votes, changed votes, or was in any way compromised.
   “Other security measures like pre-election testing, state certification of voting equipment, and the
   U.S. Election Assistance Commission’s (EAC) certification of voting equipment help to build
   additional confidence in the voting systems used in 2020.

   “While we know there are many unfounded claims and opportunities for misinformation about the
   process of our elections, we can assure you we have the utmost confidence in the security and
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   integrity of our elections, and you should too. When you have questions, turn to elections o icials as
https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-coordinating-council-election                           1/2
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                                                                                              the Election Infrastructure of 3 Coordinating Executi…
   trusted voices as they administer elections.”                                                                              TLP:WHITE


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   Topics: Election Security

   Keywords: CISA, Election security

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https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-coordinating-council-election                           2/2
